Case 2:23-cv-00133-ABJ Document 16 Filed 10/23/23 Page 1 of 20

                                                                      FILED




                                                                   4:31 pm, 10/23/23

                                                                 Margaret Botkins
                                                                  Clerk of Court
Case 2:23-cv-00133-ABJ Document 16 Filed 10/23/23 Page 2 of 20
Case 2:23-cv-00133-ABJ Document 16 Filed 10/23/23 Page 3 of 20
Case 2:23-cv-00133-ABJ Document 16 Filed 10/23/23 Page 4 of 20
Case 2:23-cv-00133-ABJ Document 16 Filed 10/23/23 Page 5 of 20
Case 2:23-cv-00133-ABJ Document 16 Filed 10/23/23 Page 6 of 20
Case 2:23-cv-00133-ABJ Document 16 Filed 10/23/23 Page 7 of 20
Case 2:23-cv-00133-ABJ Document 16 Filed 10/23/23 Page 8 of 20
Case 2:23-cv-00133-ABJ Document 16 Filed 10/23/23 Page 9 of 20
Case 2:23-cv-00133-ABJ Document 16 Filed 10/23/23 Page 10 of 20
Case 2:23-cv-00133-ABJ Document 16 Filed 10/23/23 Page 11 of 20
Case 2:23-cv-00133-ABJ Document 16 Filed 10/23/23 Page 12 of 20
Case 2:23-cv-00133-ABJ Document 16 Filed 10/23/23 Page 13 of 20
Case 2:23-cv-00133-ABJ Document 16 Filed 10/23/23 Page 14 of 20
Case 2:23-cv-00133-ABJ Document 16 Filed 10/23/23 Page 15 of 20
Case 2:23-cv-00133-ABJ Document 16 Filed 10/23/23 Page 16 of 20
Case 2:23-cv-00133-ABJ Document 16 Filed 10/23/23 Page 17 of 20
Case 2:23-cv-00133-ABJ Document 16 Filed 10/23/23 Page 18 of 20
Case 2:23-cv-00133-ABJ Document 16 Filed 10/23/23 Page 19 of 20
Case 2:23-cv-00133-ABJ Document 16 Filed 10/23/23 Page 20 of 20
